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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                               )
US DOMINION, INC. et al.,                      )
                                               )
                Plaintiffs,                    )
                                               )       Case No. 1:21-cv-02131-CJN
                v.                             )
                                               )
 PATRICK BYRNE,                                )
                                               )
                Defendant.                     )
                                               )

                NOTICE OF WITHDRAWAL OF LITIGATION COUNSEL

       Pursuant to Local Civil Rule 83.6(b), counsel Thomas A. Clare, P.C., respectfully

withdraws his appearance as litigation counsel for Plaintiffs in this action. Plaintiffs consent to

this withdrawal and will continue to be represented by all other counsel of record in this matter.

Dated: March 15, 2024                              Respectfully Submitted,

                                                   US Dominion, Inc, Dominion Voting
                                                   Systems, Inc., and Dominion Voting Systems
                                                   Corporation

                                                   By: /s/John Poulos
                                                   John Poulos, Chief Executive Officer
                                                   Plaintiff
                                                   /s/ Thomas A. Clare, P.C.
                                                   Thomas A. Clare, P.C. (D.C. Bar No. 461964)
                                                   CLARE LOCKE LLP
                                                   10 Prince Street
                                                   Alexandria, Virginia 22314
                                                   Telephone: (202) 628-7400
                                                   Email: tom@clarelocke.com
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                               CERTIFICATE OF SERVICE

       I, Thomas A. Clare, P.C., hereby certify that, on March 15, 2024, I caused a true and correct

copy of the foregoing Notice of Withdrawal of Litigation Counsel to be served on all counsel of

record via the Court’s CM/ECF system.

                                                 /s/ Thomas A. Clare, P.C.
                                                 Thomas A. Clare, P.C.




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